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THE PRIDE

LAW

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION

VKD

MLR.

Plaintiff,

COMPLAINT

V.
DEMAND FOR JURY TRIAL

FEDERAL CORRECTIONAL
INSTITUTION “FCI”? DUBLIN;
ROSS KLINGER; RAY J. GARCIA;
and UNITED STATES OF
AMERICA, a governmental entity,

Defendants.

INTRODUCTION

1. Beginning in approximately March 2020 and ending in approximately
October 2020, Defendant Ross Klinger (“Klinger’’), a correctional officer at Federal
Correctional Institution — Dublin (“FCI Dublin”), repeatedly subjected Plaintiff, a
minimum-security inmate incarcerated there, to sexual abuse in violation of federal
and state law.

2. Congress enacted the Prison Rape Elimination Act in 2003, 34 U.S.C.
§ 30301, ef seg. (“PREA”) to establish national standards for preventing precisely
this kind of sexual abuse from happening to federal inmates. Under PREA, the U:S.

Department of Justice promulgated detailed regulations that provide precise
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procedures that prisons must follow. And the Federal Bureau of Prisons (“BOP”)
adopted PREA policies in response to these regulations.

3. Defendant Klinger, a correctional officer at FCI Dublin, repeatedly
subjected Plaintiff to sexual abuse. In doing so, Klinger violated Plaintiffs
Constitutional rights and California law on gender violence and sexual assault and
common law on battery and negligence. He currently faces federal criminal charges
for sexual abuse of a ward (18 U.S.C. § 2243(b)) for his abuse of Plaintiff and
another inmate. Klinger pled guilty to the charges, and he is currently out on bail
awaiting sentencing. : .

4. Defendant Ray J. Garcia was the associate warden at FCI Dublin
between December 2018 and November 2020 — the entire period that Plaintiff was
being abused by Defendant Klinger. As the warden, Garcia was responsible for
safekeeping, care, protection, discipline, programming, and release of inmates
incarcerated at FCI Dublin. Garcia was also responsible for hiring, training, and
supervising/managing staff, and determining operating procedures and policies.

5. Garcia was also arrested and charged with sexual abuse of a ward
based on his sexual abuse of multiple female inmates at FCI Dublin.

6. Garcia led training on the Prison Rape and Elimination Act and
chaired the audit of FCI Dublin under the PREA. Thus, the man responsible for
teaching inmates how to report rape was in fact a serial rapist of inmates.

7. As aresult of Defendants’ actions, Plaintiff suffered numerous
emotional injuries and incurred severe personal injuries, which continue to affect
her today. :

8. When Plaintiff was released to a halfway house on September 4, 2020,
Klinger continued his abuse and threatened Plaintiff with physical harm if she
refused to submit to him.

9. Plaintiff brings this civil action and asserts claims: (1) against Klinger

and Garcia under the Eighth Amendment’s Cruel and Unusual Punishment Clause
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(Excessive Force), California’s gender violence and sexual assault statutes (Civil
Code §§ 52.4 and 1708.5), and California common law (Battery and Negligence),
(2) against FCI] Dublin under the Eighth Amendment’s Cruel and Unusual
Punishment Clause (Deliberate Indifference); (3) against FCI Dublin under the
Fifth Amendment’s Due Process Clause (Procedural Due Process); and (4) against
‘the United States of America under the Federal Tort Claims Act (28 U.S.C. §$
1346(b), 1671-2680) (“FTCA”) for various tort claims against all Defendants
arising under California common law committed within the course and scope of
their federal office or employment.

10. . For these violations, Plaintiff seeks nominal, compensatory, and
punitive damages, attorneys’ fees and costs, and any other relief that the Court

deems appropriate.

JURISDICTION AND VENUE

11. Plaintiffs claims arise under the United States Constitution, California
statutory law, California common law, and the FTCA. The Court has diversity
jurisdiction over Plaintiff's entire action under 28 U.S.C. § 1332 because Plaintiff
and Defendants are diverse in citizenship and more than $75,000 is in controversy.
The Court also has federal question jurisdiction over Plaintiff's Constitutional
claims and FTCA claims (which have been administratively exhausted) under 28
U.S.C. § 1331. And the Court has supplemental jurisdiction over Plaintiff's
California statutory and common-law claims under 28 U.S.C. § 1367 because these
state-law claims arise from a common nucleus of operative fact with Plaintiffs
federal question claims. . :

12. The Court also has personal jurisdiction over Defendants. The Court
has general jurisdiction over Defendants because, on information and belief, each
Defendant is a citizen of, and domiciled in, California. The Court has specific

jurisdiction over Defendants because they committed the actions and omissions

forming the basis for each claim against them in California.
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13. | Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and
28 U.S.C. § 1402(b). As noted above, Defendants’ actions and omissions that give
rise to Plaintiff's claims all occurred in this District, at FCI Dublin, located at 5701
8th St., Dublin, California 94568.
INTRADISTRICT ASSIGNMENT
--}4. ~Pursuant to Civil Local Rule 3-29(d), Plaintiff's action 1s property

assigned to the San Francisco Division of this District because the action arises
from actions and omissions taken in Alameda County, California, where FCI
Dublin 1s located.

PARTIES

15.  Plaintiffis an individual and citizen of Thermal, California. During the
relevant period, Plaintiff was incarcerated at FCI Dublin in Dublin, California.
Plaintiff has now completed her sentence and is released from custody.

16. Upon information and belief, Defendant Ross Klinger is an individual
and citizen of California, where he is domiciled. During the relevant period, Klinger
worked as a correctional officer at FCI Dublin in the Bureau of Prison’s (BOP’s)
employment. While performing the acts and omissions that Plaintiff alleges in this
complaint, Klinger was acting within the scope of his official employment, or with
the BOP’s permission and consent.

‘17. Upon information and belief, Defendant Ray J. Garcia is an individual
and citizen of California, where he is domiciled. During the relevant period, Garcia
worked as the associate warden at FCI Dublin in the BOP’s employment. While
performing the acts and omissions that Plaintiff alleges in this complaint, Garcia
was acting within the scope of his official employment, or with the BOP’s

permission and consent.

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18. Defendant FCI Dublin is an all-female low security federal
correctional institution with an adjacent minimum-security satellite camp located in
Dublin, California. This facility is located within the Northern District of California
(NDCA).

19. Defendant United States is a governmental entity. During the relevant
period, the United States, through the BOP, a federal agency, was in possession and
control of FCI Dublin, a minimum-security federal prison located in Dublin,
California. The United States has waived sovereign immunity as to Plaintiff's tort
claims against Klinger, pursuant to FTCA, 28 U.S.C. § 2674.

STATEMENT OF FACTS

A. PREA regulations provide mandatory procedures for preventing,
reporting, investigating, and responding to reports of staff sexua
abuse of an inmate.

20. PREA regulations require the BOP to have a strict “written policy
mandating zero tolerance toward all forms of sexual abuse and sexual harassment
and outlining the [BOP’s] approach to preventing, detecting, and responding to
such conduct,” which the BOP has adopted.’

21. PREA regulations also comprehensively mandate that the BOP and its
correctional staff follow certain policies and procedures when an inmate has
allegedly suffered sexual abuse.

22.  First'and foreimost, the BOP “shall require all staff to report
immediately” “any knowledge, suspicion, or information regarding an incident of
sexual abuse” and “staff neglect or violation of responsibilities that may have
contributed to an incident or retaliation.”? “Apart from reporting to designated
supervisors or officials, staff shall not reveal any information related to a sexual

abuse report to anyone other than to the extent necessary, as specified in agency

| See BOP Program Statement No. 5324.11, at 15 Van. 6, 2014): 28 CFR. § 115. 11(b), (¢).
798 CFR. § 115.61 (a).
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policy, to make treatment, investigation, and other security and management
decisions.”*

23. Regardless of whether a report of sexual abuse is made, if an inmate is
“subject to a substantial risk of imminent sexual abuse, [BOP employees] shall take

immediate action to protect the inmate.”

|--- - --24, ~-Upomreceiving a report of inmate sexual abuse, the facility is required

to report it to a designated internal investigator’ and conduct an administrative or
criminal investigation.° A criminal investigation is required for all allegations of
inmate sexual abuse, “unless the allegation does not involve potentially criminal

behavior.”’ All such referrals must be documented.*

25. Given the high risk for retaliation against a reporter or victim, the BOP
is required to “protect all inmates and staff who report sexual abuse or sexual
harassment or cooperate with sexual abuse or sexual harassment investigations
from retaliation by other inmates or staff and shall designate which staff members
or departments are charged with monitoring retaliation.”’ A prison’s PREA
compliance manager must monitor an inmate sexual abuse victim for 90 days after
a report of abuse is filed to ensure that he or she is not retaliated against by prison
staff. !°

26. The BOP must also provide ongoing access to mental healthcare to
all inmates who have been victimized by sexual abuse while detained in the
facility."

27. The BOP is required to train every employee who may have contact

with inmates to comply with the above PREA regulations and must “document,

3 Id. § 115.61)

4 Td. § 115.62

SId. § 115.6 1fe)

6 Id. § 115.22(a); see also Id. § 115.71

7 Td. § 115.22(b)

8 Id.

9 Id. § 115.67(a).

1028 C.F.R. § 115.67(c); BOP Program Statement No. 5324.11, al 44 (Jan. 6, 2014)
VT § 115.83¢a), (b), (hy). ‘

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through employee signature or electronic verification, that employees
understand the training they have received.” '* In addition to this general
training, specialized training is required for sexual abuse investigators. I

28. Where an investigation finds that a staff member has engaged in
sexual abuse, the presumptive disciplinary sanction is termination, and some
form of discipline is required: "* -

29. Finally, all documentation relating to an allegation of inmate sexual
abuse must be maintained!> and securely retained for at least ten years after the
date of initial collection. "°

30. Defendants repeatedly violated these PREA regulations.

B. Klinger routinely subjected Plaintiff to sexual abuse.

31. When Plaintiff began serving her sentence at FCI Dublin, she was
assigned to the recycling crew which was led by Klinger. Klinger was known for
showing up to work drunk and regularly reeking of alcohol. Klinger yelled at the
inmates and cussed at them telling them that they were felons who needed to be
treated like shit. His angry demeanor struck fear in the inmates, including
Plaintiff.

32. About a month after working on the recycling crew, Klinger turned

his attention to Plaintiff. He started being nicer to her and told her that he

‘|| wanted to get to know her better. Klinger brought her and the other five inmates

that were part of the recycling crew Starbucks and fast food. He told her that he
cared for her and wanted to be with her.

33. As part of the recycling crew, one of Plaintiff's duties was to walk
around the prison collecting recycling materials. Klinger accompanied Plaintiff

on the walks. In approximately April 2020 during one of their walks, Klinger

7d. § W531.

Bd. § 115.34.

Jd. § 115.76.

Id § 115.87 (a), (@.

16 Fd. § 115.89%a), (a). 1

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and Plaintiff stopped at the safety warehouse inside a Conex box where Klinger
performed oral sex on Plaintiff and had sexual intercourse with her.

34. These sexual encounters continued until approximately October
2020 when Klinger was transferred to the Metropolitan Correctional Center
(MCC) San Diego. Plaintiff estimates that Klinger had sex with her
approximately five times inside the Conex box while another inmate was
instructed to serve as a look out. It should be noted that there were no video
surveillance cameras in or around the Conex box to capture the illegal activity
by Klinger or to protect Plaintiff. In fact, FCI Dublin failed to have adequate
working and monitored video surveillance cameras to monitor inmate and
employee behavior.

35. After Klinger’s transfer to MCC San Diego, he continued to
correspond via email with Plaintiff, using the alias “Juan Garcia.” Plaintiff also
had frequent video visits with Klinger using the alias “Juan Garcia.” Klinger
used an alias to conceal his relationship as he likely knew his name would be
familiar to BOP staff.

36. Klinger was also in contact with Plaintiff's mother and gave her
money to put in Plaintiff's commissary account. Per BOP policy, correctional
officers cannot become financially involved with inmates. Klinger provided
money fo Plaintiffs mother to conceal his involvement with her from the BOP.

37. Plaintiff was released from FCI Dublin to a halfway house and
Klinger continued to communicate with her via calls, text messages, and
Snapchat. Phone records revealed approximately 427 calls or attempted calls
and approximately 497 text messages between Klinger and Plaintiff's phone

during the roughly one-month period she was in the halfway house.

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38. On or about September 28, 2020, the Facility Director of the
halfway house confiscated Plaintiffs phone and saw the text messages from

Klinger. One photograph (shown below) depicted Klinger shirtless.

Plaintiff responded with photographs of herself wearing her underwear and bra.
39. Snapchat messages from username “Klinger 1983ross” were

romantic and told Plaintiff that she needed to be with him.

40. Klinger visited Plaintiff at the halfway house and took her to a
nearby Best Western motel to have sex on two occasions. Klinger told Plaintiff

that he wanted to impregnate her and to become a father. He disclosed that his
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wife left him because he is an alcoholic and they could not conceive. On the last
visit to the hotel, Klinger proposed to Plaintiff and gave her a diamond ring.

41. The halfway house reported the messages and visits to law
enforcement and Plaintiff was interviewed by them. Plaintiff told them about
what Klinger did to her and about the various correctional officers who were
abusing female inmates at FCI Dublin. Law enforcement spoke to a Best’
Western hotel employee who saw Klinger and they advised that they saw
Klinger with several different women and that it looked “a little strange.”

42. Klinger was able to sexually abuse Plaintiff through active and
passive coercion. Klinger’s sexual abuse of Plaintiff continued in this manner
for almost one year and occurred on several occasions. From approximately
April through October 2020, Klinger manipulated Plaintiff into performing oral
sex and engaging in forced sexual intercourse, which was unwelcome, offensive,
and nonconsensual. Klinger eventually used threats of violence and money to
silence Plaintiff's family from reporting his conduct. He gave Plaintiff $6,000
and an iPhone 12.

43. Unfortunately for Plaintiff, she was sent back to FCI Dublin and
suffered retaliation. While in Covid quarantine, Correctional Office Salcedo
bullied her for talking to law enforcement. He told her that she would never see
her kids again and was going to die in prison. Plaintiff's fear and anxiety were
more than she could handle. She asked for mental health services and was
denied. She started cutting herself and spiraled into severe depression. She was
placed in solitary confinement for two weeks for her “protection” from other
officers. During that time, she was not allowed to communicate with her family,
nor did she have access to letters or emails.

44. Throughout the time Klinger sexually abused Plaintiff, she told him
that she did not want to be with him. However, he told her that if she were not

with him, she could not be with anyone else. Klinger threatened her and told her
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that if she snitched, he was going to kill her. He told her that he had nothing to
lose because his mother had passed, and his dad had cancer. Klinger told
Plaintiff that she had to stay with him forever or he would kill her with a
pitchfork and/or hang her. Not only did Klinger threaten to kill her, but he also
said he would kill her mother and her children. Klinger advised that he looked in
the prison computer, had her family’s addresses and knew all about her. To this
day, Plaintiff lives in fear because Klinger is out on bail. Furthermore, Klinger
had his fellow correctional officer, John Bellhouse (also indicted for his criminal
conduct at FCI Dublin) contact Plaintiff to threaten her.

45. Klinger’s conduct is just an example of some of the cruel and
unusual punishment that Plaintiff endured at FCI Dublin. From the lower level
correctional officers like Perez who commented about her hair being braided by
saying “imagine me behind you, pulling on your braids” to medical staff like
Doctor Abellera (uncertain of spelling of name) who performed a digital vaginal
examination on her that made her uncomfortable while telling her to repeatedly
squeeze his fingers with her vaginal walls, to Associate Warden Garcia who she
saw videotaping inmates with his cell phone, the abuse permeated all levels of
the prison. Plaintiff tried to speak out and get help. She filed numerous
complaints and asked to speak to the captain about the misconduct. Her
complaints went unanswered.

C. FCI Dublin is known for its culture of tolerating sexual

misconduct.

46. These facts are either known to us or are based on information and
belief. Throughout the last three decades at least, FCI Dublin has repeatedly
ignored incidents of sexual misconduct. Currently, five employees have been
indicted by the Department of Justice for sexual misconduct, three have pled
guilty, and nine other employees are on administrative leave pending

investigation — the most in U.S. history of the Bureau of Prisons. The following
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examples are just a fraction of the magnitude of sexual misconduct and violence
that transpired at FCI Dublin:

e There were at least two sexual abuse allegations made against FCI
Dublin guards in the 1990’s and early 2000's.

e Inmate M.S. suffered sexual assault by multiple different BOP

- --emptoyees: Officer Maven, Mr. Wilson, Dr. Abellera (uncertain re
name), and Safety Administrator John Bellhouse.
In approximately 2009, Officer Maven forced M.S. to have sexual
intercourse with him, threatening to keep her in prison for the rest
of her life if she ever told anyone.
At another point during M.S.’s incarceration, a member of the
medical staff at FCI Dublin, Mr. Wilson, picked her up and
attempted to kiss her. M.S. reported Mr. Wilson to SIA Lieutenant
Putnam but nothing occurred.
In 2016, M.S. was sexually assaulted by Dr. Abellera (exact name
unknown), the man who was responsible for performing all the pap
smears at FCI Dublin. He stuck his fingers inside her and asked,
“How does that feel?” in a sexual manner. M.S. reported to Dr.
Stoll that she never wanted to get an exam from him again, and she
sent an email following up. Dr. Abellera eventually leff the prison
after some other women complained.

e In 2019, an FCI inmate, Victoria Peterson, filed a suit against
Officer William Martinez for abusing his power and using
excessive force to have sex with her. She also sued the warden at
the time, Wiley Jenkins, for failing to take disciplinary action
against Martinez and allowing him to continue working at FCI

Dublin.

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e In 2019, inmate L.I. filed a claim against former FCI Dublin

chaplain James Highhouse for sexual assault. Highhouse started
having unwanted physical contact with L.I. in May of 2018, and
although he was ultimately charged with abuse of L.1., prosecutors

said he engaged in predatory conduct with at least six women from

--9014-to 2019. Highhouse pleaded guilty and was sentenced to ©

seven years in prison.

In 2020, Corrections Officer (“CO”) John Bellhouse was employed
at FCI Dublin in the position of safety administrator. He worked in
the Recycling and Safety Program, supervising inmates alongside
Klinger. M.S. worked in the recycling program where she was
sexually assaulted by Bellhouse. CO Bellhouse was the third officer
arrested from FCI Dublin out of the same sexual misconduct
scheme. Bellhouse is charged with one count of sexual abuse of a
ward in violation of 18 U.S.C. § 2243(b).

Between approximately June of 2020 and September of 2020,
inmate A.Z. witnessed Klinger’s sexual relationship with Plaintiff.
She witnessed Klinger take Plaintiff into a hidden area to have sex
with him, and she saw Klinger’s semen on Plaintiff's shirt
afterward. Klinger and CO Jaime Perez spoke with sexually explicit
language toward A.Z. CO Perez would bump up against her and
grab her breasts. Officer Perez also took photos of A.Z.

Between approximately August 2020 and November 2020, inmate
D.V. was pressured into an ongoing sexual relationship with FCI
Dublin Correctional Officer Enrique Chavez. CO Chavez kissed
her, touched her bare breasts and vagina, and had D.V. touch his
penis. CO Chavez was known to bring inmates into the kitchen

closet for “meetings.” CO Chavez has now been charged with
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abusive sexual contact of a prisoner in violation of 18 U.S.C. §
2 2244(a)(4). He recently pled guilty to the conduct.
3 e It was common for male employees at FCI Dublin to stare at the
4 inmates while they were naked in the shower. For example, inmate
5 Y.S. witnessed CO Sergio Saucedo watching her in the shower
6 |-- <---> ~-between May of 2021 and October of 2021.
7 e Another inmate, A.J., suffered sexual abuse at FCI Dublin between
8 approximately September 2021 and May of 2022. When A.J.
9 arrived, Paramedic Fraser Cohen grabbed her breasts with no
10 chaperone. Later throughout her incarceration, CO Nicholas Ramos
11 consistently watched her in the shower, and both CO Ramos and
12 CO Phillips made her strip, cough, and squat for cavity searches.
13 e Former Associate Warden Garcia has been charged with seven
14 counts of sexually abusive conduct against three female victims
15 who were serving, prison sentences.
16 47. Upon information and belief, Klinger, Garcia, Maven, Wilson,

17 | Abellera, Bellhouse, Highhouse, Perez, Chavez, Saucedo, Cohen, Ramos, and
18 | Phillips were not the only employees at FCI Dublin engaging in inappropriate
19 | conduct with inmates.

20 A. At least 22 FCI Dublin employees, including those who

21 | courageously reported and/or acted to prevent instances of sexual violence, have
22 | been reassigned to other prisons. This reassignment got the attention of

23 Congresswoman Jackie Speier, who wrote a letter to the new Director of the

24 | Federal Bureau of Prisons, Colette Peters, requesting information about FCI

25 | Dublin’s “culture of rampant sexual misconduct and subsequent cover-ups.”!”

28 7 Kox2KTVU Reporter Lisa Fernandez: https://Avww.ktvu.com/news/dublin-prison-guard-says-she-was-forced-out-
for-reporting-abuse

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I CLAIMS FOR RELIEF
2 CLAIM ONE
3 EIGHTH AMENDMENT, CRUEL AND UNUSUAL PUNISHMENT —

4 SEXUAL ABUSE

5 (Against Klinger and Garcia in their individual capacities)

6 49. Plaintiff repeats and incorporates by reference every allegation

7 | contained in the preceding paragraphs as if fully set forth herein.

8 50. Plaintiff brings this claim under the Cruel and Unusual Punishment
9 | Clause of the Eighth Amendment to the U.S. Constitution against Klinger and
10 | Garcia in their individual capacities.

I] 51.  Atall material times, Klinger and Garcia were federal employees of
12 | the BOP at FCI Dublin, acting under the color of federal authority with respect
13 | to the allegations in this complaint.

14 52. Klinger violated Plaintiff’s right to be free from cruel and unusual
15 | punishment by repeatedly sexually abusing her while she was incarcerated as a
16 | minimum-security inmate at FCI Dublin. This sexual abuse included repeated
17 | sexual intercourse, among other sexual acts.

18 53. Klinger’s sexual abuse of Plaintiff occurred under coercive

19 } circumstances.

20 54. By intentionally subjecting Plaintiff to sexual acts, Klinger acted
21 | maliciously, in a manner that is deeply offensive to human dignity and void of
22 | any penological justification.

23 55. The inhumane conditions of confinement caused by Klinger’s

24 | repeated sexual abuse for almost one year caused Plaintiff severe physical,

25 | mental, and emotional harm.

26 56. Garcia was the associate warden during the entire period that Plaintiff
27 | was being abused by Klinger. As the warden, Garcia was responsible for

28 | safekeeping, care, protection, discipline, programming, and release of inmates
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1 | incarcerated at FC] Dublin. Garcia was also responsible for hiring, training, and

2 | supervising/managing staff, and determining operating procedures and policies.

3 57. Garcia was also sexual abusing wards at FCI Dublin, and in his
capacity as warden, thus ratified Klinger’s behavior. Garcia led PREA training and

chaired the audit of FCI Dublin under the PREA. Thus, the man responsible for

58. Klinger and Garcia acted with malice and oppression, and their

conduct constitutes a reckless or callous disregard of Plaintiff's rights, entitling

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6 | teachimg-inmates how to report rape was in facta serial rapist of inmates.
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Plaintiff to punitive damages.

10 59. Plaintiff seeks the following relief for her injuries: (a) nominal

11 | damages resulting from the repeated violations of her personal dignity and from
12 | physical injury; (b) non-economic damages consisting of past physical injury,
13 | past and future mental pain and suffering, mental anguish, emotional distress,

14 || and for offenses to her personal dignity; and (c) punitive damages.

15 CLAIM TWO

16 GENDER VIOLENCE (Cal. Civ. Code § 52.4)

17 (Against Klinger in his individual capacity)

18 60. Plaintiff repeats and incorporates by reference every allegation

19 | contained in the preceding paragraphs as if fully set forth herein.

20 61. Plaintiff brings this claim for gender violence under California

21 | Civil Code § 52.4 against Klinger in his individual capacity.

22 62. Under California statute, any person subjected to gender violence
23 | may bring a civil action for damages against the responsible party. Gender

24 | violence is a form of sex discrimination that includes a physical intrusion or

25 | invasion of a sexual nature under coercive conditions.

26 63. Klinger discriminated against Plaintiff based on her female gender

27 || when he repeatedly sexually abused her, by physically subjecting her to sexual

28 | acts, under the coercive conditions that were present between them.
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64. Klinger’s actions occurred outside the course and scope of his
employment. His actions and judgments in sexually abusing Plaintiff were so far
below the acceptable standard of custodial conduct, as exemplified by PREA
regulations and BOP policy prohibiting sexual abuse, that he could not have
been making a policy judgment in his decision to sexually abuse Plaintiff.
~~~" 65. ~*By repeatedly subjecting Plaintiff to sexual acts, Klinger caused Iter
to suffer physical, mental, and emotional injuries, as well as injuries to her
personal dignity.

66. Klinger acted with malice and oppression and his conduct
constitutes a reckless or callous disregard of Plaintiffs rights, entitling her to
punitive damages.

67. Plaintiff seeks the following relief for her injuries: (a) nominal
damages resulting from the repeated violations of her personal dignity and from
physical injury; (b) non-economic damages consisting of past physical injury,
past and future mental pain and suffering, mental anguish, emotional distress,
and for offenses to her personal dignity; and (c) punitive damages.

68. Plaintiff also seeks attorney’s fees and costs, as expressly
authorized by statute.

CLAIM THREE
“SEXUAL ASSAULT (Cal. Civ. Code § 1708.5)

(Against Klinger in his individual capacity)
69. Plaintiff repeats and incorporates by reference every allegation
contained in the preceding paragraphs as if fully set forth herein.
70. Plaintiff brings this claim for sexual assault under California Civil

Code § 1708.5 against Klinger in his individual capacity.

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

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71. Klinger violated Plaintiffs statutory right to be free from sexual
assault by repeatedly sexually abusing her while she was incarcerated as a
minimum-security inmate at FCI Dublin. This sexual abuse included repeated
sexual intercourse, among other sexual acts.

72. Klinger’s sexual abuse of Plaintiff occurred under coercive
circumstances. ~

73. For these reasons, Klinger’s sexual abuse of Plaintiff, an inmate in
the custody of his employer, was deeply offensive to her personal dignity, would
offend a person of ordinary sensitivity, and was unwarranted by the social
usages in prison when the contact was made.

74. Given the deeply offensive nature of these sexual acts and lack of
any possible penological justification for these sexual acts, Klinger must have
subjected Plaintiff to these sexual acts with the intent to cause a harmful or
offensive contact with Plaintiff's person.

75. By intentionally subjecting Plaintiff to sexual acts, Klinger acted
maliciously, in a manner that is deeply offensive to human dignity and void of
any penological justification.

76. Klinger’s actions occurred outside the course and scope of his
employment. His actions and judgments in sexually abusing Plaintiff were so far
below the acceptable standard of custodial conduct, as exemplified by PREA
regulations and BOP policy prohibiting sexual abuse, that he could not have
been making a policy judgment in his decision to sexually abuse Plaintiff.

77. By repeatedly subjecting Plaintiff to sexual acts, Klinger caused her
to suffer physical, mental, and emotional injuries, as well as injuries to her
personal dignity.

78. Klinger acted with malice and oppression, and his conduct
constitutes a reckless or callous disregard of Plaintiffs rights, entitling her to

punitive damages.
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79. Plaintiff seeks the following relief for her injuries: (a) nominal
damages resulting from the repeated violations of her personal dignity and from
physical injury; (b) non-economic damages consisting of past physical injury,
past and future mental pain and suffering, mental anguish, emotional distress,
and for offenses to her personal dignity; and (c) punitive damages.

CLAIM FOUR
BATTERY (California common law)

(Against Klinger in his individual capacity)

80. Plaintiff repeats and incorporates by reference every allegation
contained in the preceding paragraphs as if fully set forth herein.

81. Plaintiff brings this claim for battery under California common law
against Klinger in his individual capacity.

82. Klinger committed battery against Plaintiff by repeatedly sexually
abusing her while she was incarcerated as a minimum-security inmate at FCI
Dublin. This sexual abuse included repeated sexual intercourse, among other
sexual acts.

83. Klinger’s sexual abuse of Plaintiff occurred under coercive
circumstances.

84. For these reasons. Klinger’s sexual abuse of Plaintiff, an inmate in
the custody of his employer, was deeply offensive to her personal dignity, would
offend a person of ordinary sensitivity, and was unwarranted by the social
usages in prison when the contact was made.

85. Given the deeply offensive nature of these sexual acts and lack of
any possible penological justification for these sexual acts, Klinger must have
subjected Plaintiff to these sexual acts with the intent to cause a harmful or

offensive contact with Plaintiffs person.

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86. By intentionally subjecting Plaintiff to sexual acts, Klinger acted
maliciously in a manner that is deeply offensive to human dignity and void of
any penological justification.

87. Klinger’s actions occurred outside the course and scope of his
employment. His actions and judgments in sexually abusing Plaintiff were so far
below the acceptable standard of custodial conduct, as exemplified by PREA ~~
regulations and BOP policy prohibiting sexual abuse, that he could not have
been making a policy judgment in his decision to sexually abuse Plaintiff.

88. By repeatedly subjecting Plaintiff to sexual acts, Klinger caused her
to suffer physical, mental, and emotional injuries, as well as injuries to her
personal dignity.

89. Klinger acted with malice and oppression, and his conduct
constitutes a reckless or callous disregard of Plaintiff's rights, entitling her to
punitive damages.

90. Plaintiff seeks the following relief for her injuries: (a) nominal
damages resulting from the repeated violations of her personal dignity and from
physical injury; (b) non-economic damages consisting of past physical injury,
past and future mental pain and suffering, mental anguish, emotional distress,
and for offenses to her personal dignity; and (c) punitive damages.

CLAIM FIVE
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

(California common law)
(Against Klinger in his individual capacity)
91. Plaintiff repeats and incorporates by reference every allegation
contained in the preceding paragraphs as if fully set forth herein.
92. Plaintiff brings this claim for intentional infliction of emotional

distress under California common law against Klinger in his individual capacity.

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93. Klinger engaged in outrageous conduct by repeatedly subjecting
Plaintiff to sexual acts while she was incarcerated as an inmate in his employer’s
custody. Klinger abused his authority over Plaintiff and his power to affect her
interests in a manner that was beyond all bounds of decency and must be
regarded as atrocious and utterly intolerable in a civilized society.

-94-- Ktinger*s sexual abuse caused Plaintiff to suffer, and continue to
suffer, severe emotional distress, including fear, depression, and anxiety. This
distress was so substantial and enduring that no reasonable person in a civilized
society should be expected to endure it. :

95. Klinger intended to cause Plaintiff this emotional distress because
he knew that emotional distress was certain to result from his sexual abuse of an
inmate.

96. Klinger’s actions occurred outside the course and scope of his
employment. His actions and judgments in sexually abusing Plaintiff were so far
below the acceptable standard of custodial conduct, as exemplified by PREA
regulations and BOP policy prohibiting sexual abuse, that he could not have
been making a policy judgment in his decision to sexually abuse Plaintiff.

97. Klinger acted with malice and oppression, entitling Plaintiff to
punitive damages.

98. Plaintiff seeks the following relief for her injuries: (a) nominal
damages resulting from the repeated violations of her personal dignity and from
physical injury; (b) non-economic damages consisting of past physical injury,
past and future mental pain and suffering, mental anguish, emotional distress,

and for offenses to her personal dignity; and (c) punitive damages.

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CLAIM SIX
NEGLIGENCE (California common law)
(Against Klinger and Garcia in their individual capacities)

99. Plaintiff repeats and incorporates by reference every allegation
contained in the preceding paragraphs as if fully set forth herein.

--400. ~-Plaintiff brings this claim for negligence under California common
law against Klinger and Garcia in their individual capacities.

101. Garcia and Klinger had a special and heightened duty of care to
Plaintiff as her jailers that required them to protect her against reasonably
foreseeable harm, including sexual abuse. PREA regulations and BOP policy
prohibiting sexual abuse confirm this special and heightened duty.

102. Alternatively, Garcia and Klinger had a general duty of care with
respect to Plaintiff.

103. Klinger repeatedly breached his duty of care to Plaintiff by
subjecting her to sexual acts. A reasonably prudent prison guard would not have
engaged in that conduct. Garcia ratified Klinger’s conduct and engaged in
similar unlawful conduct with other inmates.

104. Klinger and Garcia acted in a manner that is void of any
penological justification.

~ 105. Klinger’s and Garcia’s actions occurred outside the course and
scope of their employment. Their actions and judgments in sexually abusing
Plaintiff were so far below the acceptable standard of custodial conduct, as
exemplified by PREA regulations and BOP policy prohibiting sexual abuse, that
they could not have been making a policy judgment in sexually abusing and/or
ratifying the sexual abuse of Plaintiff.

106. By repeatedly subjecting Plaintiff to sexual acts, Klinger and
Garcia proximately caused her to suffer physical, mental, and emotional injuries,

as well as injuries to her personal dignity.
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107. Klinger and Garcia acted with malice and oppression, and their
conduct constitutes a reckless or callous disregard of Plaintiff's rights, entitling
her to punitive damages.

108. Plaintiff seeks the following relief for her injuries: (a) nominal

damages resulting from the repeated violations of her personal dignity and from

-| physical-injury; (b) non-economic dantages consisting of past physical injury,

past and future mental pain and suffering, mental anguish, emotional distress,
and for offenses to her personal dignity; and (c) punitive damages.
CLAIM SEVEN |
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

(California common law)
(Against Klinger in his individual capacity)

109. Plaintiff repeats and incorporates by reference every allegation
contained in the preceding paragraphs as if fully set forth herein.

110. Plaintiff brings this claim for negligent infliction of emotional
distress under California common law against Klinger in his individual capacity.

111. Klinger had a special and heightened duty of care to Plaintiff as her
jailer that required him to protect her against reasonably foreseeable emotional
harm, including from sexual abuse. PREA regulations and BOP policy
prohibiting sexual abuse confirm this special and heightened duty.

112. Alternatively, Klinger had a general duty of care with respect to
Plaintiff,

113. Klinger engaged in negligent conduct and in a willful violation of
statutory standards. On multiple occasions, Klinger breached his duty of care
and the PREA regulations by purposefully and willingly subjecting Plaintiff to
sexual acts. Klinger’s breaches of his duty of care and willful violations of

statutory standards were directed at Plaintiff.

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114. By repeatedly subjecting Plaintiff to sexual acts, Klinger
proximately caused her to suffer, and to continue to suffer, serious and severe
emotional distress.

115. Plaintiff’s emotional reactions are not an abnormal response to her
sexual abuse. A reasonable person would be unable to cope with the mental
distress caused by being sexually abused by a correctional officer who hada
duty to protect her from such abuse. No reasonable person in a civilized society
should be expected to endure that kind of mental distress.

116. Klinger’s actions occurred outside the course and scope of his
employment. His actions and judgments in sexually abusing Plaintiff were so far
below the acceptable standard of custodial conduct, as exemplified by PREA
regulations and BOP policy prohibiting sexual abuse, that he could not have
been making a policy judgment in his decision to have sex with Plaintiff.

117. Klinger acted with malice and oppression, and his conduct
constitutes a reckless or callous disregard of Plaintiff rights, entitling her to
punitive damages.

118. Plaintiff seeks the following relief for her injuries: (a) nominal
damages resulting from the repeated violations of her personal dignity and from

physical injury; (b) non-economic damages consisting of past physical injury,

| past and future mental pain and suffering, mental anguish, emotional distress,

and for offenses to her personal dignity; and (c) punitive damages.
CLAIM EIGHT
EIGHTH AMENDMENT, DELIBERATE INDIFFERENCE — FAILURE
TO PROTECT

(Against Garcia in his individual capacity)
119. Plaintiff repeats and incorporates by reference every allegation

contained in the preceding paragraphs as if fully set forth herein.

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PLAINTIFF S COMPLAINT AND DEMAND FOR JURY TRIAL

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120. Plaintiff brings this claim against Garcia in his individual capacity
under the Cruel and Unusual Punishment Clause of the Eighth Amendment to
the United States Constitution.

121. At all material times, Garcia was a federal employee, acting under
the color of federal authority with respect to the allegations set forth above.

‘122. Garcia deprived Plaintiff of her right to’be free from cruel-and
unusual punishment by failing to protect her from a substantial risk of serious
harm from sexual abuse by Klinger by acting in conscious disregard of that
known risk.

123. Garcia, as the warden, ratified Klinger’s conduct by engaging in the
same or similar acts as Klinger with other inmates at FCI Dublin. Therefore,
Garcia purposefully denied Plaintiff protection from the known and substantial
risk of serious harm of Klinger’s sexual abuse.

124. Garcia failed to take immediate action to protect Plaintiff, including
by separating her from Klinger, in violation of 28 C.F.R. § 115.62.

125. Garcia did not take reasonable, available measures to abate the risk
of sexual abuse to Plaintiff, and to guarantee her safety, even though a
reasonable officer in the circumstances would have appreciated the obviously
high degree of risk involved.

126. Garcia therefore acted with deliberate indifference to substantial
risk of sexual abuse in violation of the Eighth Amendment, subjected Plaintiff to
dangerous and debasing conditions of confinement, including sexual abuse, and
violated her fundamental rights to safe and humane confinement. This cruel and
unusual punishment caused Plaintiff physical, mental, emotional, and
constitutional injuries.

127. Garcia’s deliberate indifference was malicious, oppressive,

reckless, and callous, entitling Plaintiff to punitive damages.

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128. Plaintiff seeks the following relief for her mjuries: (a) nominal
damages resulting from the repeated violations of her personal dignity and from
physical injury; (b) non-economic damages consisting of past physical injury,
past and future mental pain and suffering, mental anguish, emotional distress,

and for offenses to her personal dignity; and (c) punitive damages.

> FEDERAL TORT-CLAIMS ACT ADMINISTRATIVE EXHAUSTION

129. Claims Nine and Ten, below, are asserted against the United States.

130. Plaintiff has exhausted these claims against the United States under
the FTCA.

131. Plaintiff submitted a “Claim for Damage Injury, or Death” to the
BOP on October 18, 2021, for “permanent injuries, mental anguish,
embarrassment, humiliation, pain, distress, and damages” as a PREA victim
involving staff at FCI Dublin in the sum of $5,000,000.00.

132. A true and correct copy of Plaintiff's FTCA claim is attached
hereto as Exhibit A.

133. The BOP received her administrative clatm on November 23, 2021.

134. A true and correct copy of the BOP’s acknowledgment is attached
hereto as Exhibit B.

135. By May 23, 2022, six months after the BOP received Plaintiffs
administrative claim, the BOP has neither accepted nor rejected the claims.
Pursuant to 28 U.S.C. § 2675(a), Plaintiff elects to consider this failure to act as
a final denial of her claim.

CLAIM NINE
NEGLIGENCE (FTCA, California common law)

(Against the United States)
136. Plaintiff repeats and incorporates by reference every allegation

contained in the preceding paragraphs as if fully set forth herein.

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137. Plaintiff brings this claim against the United States under the FTCA
based on the actions and/or omissions of Klinger and Garcia taken while
working at FCI Dublin in their capacity as employees of the BOP and acting
within the scope of their employment, with the permission and consent of the
United States.

-. + 138.» At allmaterial times, Plaintiff was an inmate in the custody of the
BOP, a federal agency of the United States in possession and control of FCI
Dublin.

139. Duty. Garcia and Klinger had a custodial duty, as well as a
mandatory statutory obligation under PREA regulations and BOP policy, to
protect inmates incarcerated by the United States from foreseeable harm,
including, but not limited to, harm from sexual abuse.

140. Alternatively, Garcia and Klinger had a general duty of care to
Plaintiff.

141. Klinger’s sexual abuse of Plaintiff was reasonably foreseeable to
Garcia because Klinger’s conduct made it obvious he was sexually abusing
Plaintiff.

142. Breach of duty—inadequate supervision. Garcia failed to

supervise and operate FCI Dublin in a manner that would have prevented

Klinger’s ongoing sexual abuse of Plaintiff.

143. Garcia did not take reasonable, available measures to abate the risk
of sexual abuse to Plaintiff, and to guarantee her safety, even though a
reasonable administrator would have complied with PREA regulations regarding
proper prison operations, including adequately monitoring work programming
and correctional officer assignments.

144. Klinger’s sexual abuse of Plaintiff occurred as the direct and

proximate result of the supervisory negligence of Garcia.

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145. Injuries and relief sought. Plaintiff suffered a physical violation, a
violation of her liberty interest in being free from sexual abuse, injury from
being denied freedom of movement and programming, and severe mental and
emotional anxiety and distress, and will continue to suffer severe mental and
emotional anxiety and distress in the future.

146. Plaintiff seeks the following relief for her injuries: non-economic
damages consisting of past physical injury, past and future mental pain and
suffering, mental anguish, emotional distress, and for offenses to her personal
dignity. :

CLAIM TEN
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
(FTCA, California law)
(Against the United States)

147. Plaintiff repeats and incorporates by reference every allegation
contained in the preceding paragraphs as if fully set forth herein.

148. Plaintiff brings this claim against the United States under the FTCA
based on the actions and/or omissions of Klinger and Garcia which were taken
while working at FCI Dublin in their capacity as employees of the BOP and
acting within the scope of their employment, with United States’ permission and
consent.

149. At all material times, Plaintiff was an inmate in the custody of the
BOP, a federal agency of the United States in possession and control of FCI
Dublin. - . -

150. Duty. Garcia and Klinger had a custodial duty, as well as a
mandatory statutory obligation under PREA regulations and BOP policy, to
protect inmates incarcerated by the United States from foreseeable harm,

including, but not limited to, harm from sexual abuse.

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151. Breach of duty—inadequate supervision. Garcia failed to
supervise and operate FCI Dublin in a manner that would have prevented
Klinger’s ongoing sexual abuse of Plaintiff.

152. Garcia did not take reasonable, available measures to abate the risk

of sexual abuse to Plaintiff, and to guarantee her safety, even though a

‘reasonable administrator would have complied with PREA regulations regarding

proper prison operations, including adequately monitoring work programming
and correctional officer assignments.

153. Klinger’s sexual abuse of Plaintiff occurred as the direct and
proximate result of the supervisory negligence of Garcia.

154. Injuries and relief sought. Klinger’s and Garcia’s actions and
omissions caused Plaintiff to suffer, and continue to suffer, serious and severe
emotional distress, including fear, depression, and anxiety, because of being
repeatedly sexually abused.

155. Plaintiff's emotional reaction was not an abnormal response to her
sexual abuse. A reasonable person would be unable to cope with the emotional
distress caused by being sexually abused by a correctional officer, who had a
duty to protect her from such abuse. Plaintiff's distress was of such a substantial
and enduring quality that no reasonable person in a civilized society should be
expected to endure it.

156. By reason of the United States’ negligent infliction of emotional
distress, through Garcia’s and Klinger’s conduct, Plaintiff has suffered severe
emotional distress, and will continue to suffer severe mental and emotional
anxiety and distress.

157. Plaintiff seeks nominal and compensatory damages for these

violations.

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Dated: September 9, 2022

DEMAND FOR JURY TRIAL

Plaintiff demands a jury trial on all claims so triable.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court grant the following relief:
1.

Nominal damages in an amount to be determined at trial;
Compensatory damages for injuries caused by a violation of her
constitutional rights and personal dignity, physical injury, pain,
discomfort, fears, anxiety, and other mental and emotional distress
suffered by Plaintiff and for similar suffering reasonably certain to
be experienced in the future, in an amount to be determined at trial;
Punitive damages for malice, oppression, and reckless and callous
disregard of Plaintiff's rights;
An award to Plaintiff of reasonable costs and fees; and
Such other and further relief as the Court may deem fit and proper.
Respectfully Submitted,

THE PRIDE LAW FIRM

/s/ Jessica K. Pride

Jessica K. Pride

Email: jpride@pridelawfirm.com
Attorneys for Plaintiff

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

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EXHIBIT A

EXHIBIT A
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CLAIM FOR DAMAGE INSTRUCTIONS: Please read carefully the instructions on the FORM APPRO
? . . : : . RAL AR) t4qi

reverse side and supply information re ad on both sides of this OME NO, 1105.

INJURY, OR DEATH form. Use additional sheet(s} if necessary. See reverse side for

adgitional inslructians.

1. Submit ic Apprapr

The BOP Federal Correctional Institute Dublin
5701 8th St, Dublin, CA 94568 Representation: Jessica Pride. Esq.
The Pride Law Firm

2831 Camino Dei Rio S. Ste 104 San Diego, CA 92108

7. THAME CAL. OR PM)

§. MAREFTAL STATUS 8. DATE AND GAY GF AUK

Single April 2020 - October 2020 Ongoing

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addiisnal pages ifs

See Attached Document

9 PROPERTY DAMAGE

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, Cily, Stale, and Zip Corie).

None.
BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTER
(See instrictions on reverse side).

40. PERSONAL INJURYAVRONGFUL DEATH

STATE THE NATURE AND EXTENT CHINJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF E CLAIM, IF OTHER THAN CLAIMANT, STATE THE SAME
OF THE INJURED PERSON OR DECEDENT.
has suffered physical and emotional damages, in an amount to be determined by an expert, due to BOP

Officer Klinger's continued sexual assault of

it. WITNESSES

NAME ADDRESS (Number, Street, City, State, and Zip Code}

TBD

1Z. (See instructions are feverse). AMOUNT OF CLAIM (in dollars)
tc. WRONGFUL DEAT 12

5,000,000 5,000,000 ~~

I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINA, SETTLEMENT OF THIS CLAIM.
a

gor thverse sidé)., 13b. PHONE NUMBER OF PERSON SIGNING FORM | 14. DATE OF SIGNATURE

619-516-8166 10/16/2021

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ENALIY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
£4 FRAMDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is fable to tHE ie verninent foc 4 civil penalty of netiass than Fine, imprisonment, or bow (Sea IS LS C Fa?
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INSURANCE COVERAGE

in order that subrogation ciaims may be adjudicated, itis essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

18. Do you carry accident lnsurance? | Yes Hf yes, give name and address af insurance company (Number, Street, Cify, State, and Zip Cade) and policy number ix| No

16, Have you filed a claim with yaur insurance cartier in this instance, and if so, is it full coverage or deductible? j Yes X] No 17. Hf deductible, state amount.

18. Ifa claim has been filed with your carrier, what action has your insurer taken or prapased to take with reference fo yaur claim? {it is necesgary that you ascertain these facts).

19, Do you carry public liability and property damage insurance? | Yes If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code}. (x! No

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency” whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
clairn form.

Complete all Items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS QF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 98 OR OTHER WRITTEN THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY TW S AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within The amount claimed should be substantiated by competent evidence as follows:

two years from the date the claim accrued may render your claim invalid, A claim

is deemed presented when it is received by the appropriate agency, not when itis {a) in support of the claim for personal injury or death, the claimant should submila
mailed. written report by the attending physician, showing the nature and extent of the injury, lhe

nature and extent of treatment, the degree of permanent disabilily, if any, the prognosis.
and the peciod of hospilalization, or incapacitation, attaching itemized hilis far medical,
if instruction is needed in completing this form, the agertcy listed in item #4 on the reverse | hospital, or burial expenses actually incurred.

side may be contacted. Complete regulations peraining te claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part t4.
Many agencies have published supplementing regulations. If more than one agency is (b) in support of claims for damage ia property, which has been or can be economically
involved, please slaie each agency. repaired, the claimant should submit at least iwo itemized signed statements or estimates
by reliable, disinterested concerns. or, if payment has been mada, the temized signed
receipts evidencing payment. .
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express

authority to act for the claimant. A clairn presented by an agent or legal representative (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. {f the claim is signed by the agent or the propery is Jost or destroyed, the claimant should submit statements as to the original
legal representative, it musi show the tite or legal capacity of the person signing and be cost of the property, the date of purchase, and ihe value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant | @fler the accident. Such statements shouid be by disinterested competent persons,

as agent, executor, administrator. parent, guardian or other representative. preferably reputable dealers or officials familiar with the type of property damaged. or by

two or mere competitive bidders, and should be c ed as being |

If claimant intends te file for both personal myury and property damage, the amount far
each must be shawn in em number 12 of ihis form. (o) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights,

PRIVACY ACT NOTICE

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STANDARD FORM 95 REY

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Attachment to Claim Form 95

— oe 272 2. 2 former inmate at Federal Correctional Institute FCI")
Dublin (Register No. EEE), presents this claim to the Bureau of Prisons (“BOP”) based on her
sexual assault by a federal correctional officer (“CO”).

In 2020, CO.Ross Klinger was employed at FCI Dublin. His title was Recycling Technician, and
he was responsible for the supervision and discipline of inmates in the Recycling and Saf fety Program,
: mj unlawfully and in

a was one of these inmates. Through his author itative position over Ezz

violation of her civil and constitutional rights, CO Klinger initiated and continued a verbal and physical

sexual relationship with gd This relationship lasted from April through October of 2020. CO

Klinger manipulated Be into performing oral sex and engaging in forced sexual intercourse, which

was unwelcomed, offensive, and nonconsensual touching. He eventually used money to silence ga
2 family from reporting his conduct.

CO Klinger was investigated by the Office of the Inspector General and then arrested, He
currently faces federal criminal charges for Sexual Abuse of a Ward (18 U.S.C. § 2243(b)) stemming out
of his conduct against Egg and another inmate. Those charges are pending in the U.S. District
Court for the Northern District of California, Case No. 21 -MJ-71085-MAG. (See attached Ex. A). He
potentially faces up to fifteen years in prison and a $250,000 fine.

CO Klinger’s illegal and abusive behavior towards mare only asymptom ofa greater
problem at FCI Dublin, Only a few months after CO Klinger was arrested, FCI Dublin’s associate
warden, Ray J. Garcia, was arrested and charged with the same crime — Sexual Abuse ofa Ward — based
on his sexual abuse of multiple female inmates at FCI Dublin. (See attached Ex. B). Per the affidavit of
FBI Special Agent Katherine Barclay, Garcia was the associate warden between December 2018 and
November 2020 — so the entire period that mwas being abused by CO Klinger. Her affidavit
states that, “As the warden, Garcia is responsible for the safekeeping, care, protection, discipline,
programming, and release of inmates incarcerated at FCI Dublin. Garcia is also responsible for hiring,
training, and supervising and managing staff, and determining operating procedures and policies.” In
fact, Garcia himself led training on the Prison Rape Elimination Act and chaired the audit of FC] Dublin
under the PREA. Thus, the man responsible for teaching inmates how to report rape was in fact a scrial

rapist of inmates.

The United States of American, the Bureau of Prisons, Associate Warden Garcia, and CO Klinger
are Hable for§ gasignificant damages pursuant to both Bivens v. Six Unknown Named Agenis of
Fed. Bureau of Narcolics, 403 U.S. 388 (1971), and the Federal Tort Claims Act. Pursuant lo Bivens, the
federal government is liable when its agents or officers violate the civil rights of an individual. In this
Mhad the right to be free from cruel and unusual punishment, as guaranteed by the Eighth

case, B
Amendment to the U.S. Constitution, as well as a right to privacy pursuant to the Fourth Amendment.
CO Klinger’s sexual abuse of BERR c onstituted a deprivation of those rights. Further, e
multiple causes of action under the Federal Tort Claims Act, including but not limited to: Negligence,
Intentional Infliction of Emotional Distress, Assault and Battery, and Sexual Harassment. PCI Dublin
had an institutional climate and/or pattern of sexual abuse of female inmates.

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Atall times relevant, Defendants owed a duty of care to and those similarly situated,
of “safekeeping, care. . . [and] protection” pursuant to 18 U.S.C. § 4042(a)(2) and (3). Pursuant to 18
U.S.C. § 2243(b), correctional officers and guards are statutorily precluded from engaging in sexual acts
fe Yet the BOP unlawfully and in violation of BE civil rights,
failed to do anything to stop the sexual harassment, assault, or battery of Eby CO Klinger. The
BOP developed and maintained policies and customs exhibiting deliberate indifference to the
constitutional rights of women incarcerated at FC Dublin. These policies both caused and allowed the
previously alleged sexual assault and abuse of Further, Associate Warden Garcia and others
inadequately supervised and trained the prison’s correctional officers and other employees, including CO
Klinger. The United States and BOP failed to detect and prevent sexually abusive behavior, even though
they knew or should have known about the risks of inmates being isolated while working alone with COs
in outside areas such as for the recycling program, and how that could facilitate sexual assault of inmates,
They failed to take proper steps or exercise the requisite standard of care and skill ordinarily exercised by
similar correctional facilities, wardens, associate wardens, and correctional officers to deter and prevent

with an inmate, suchas §

sexually abusive behavior and control and supervise those in their employ. Associate Warden Garcia
facilitated a culture in which inmates and staff members were rewatded for keeping secrets, assisting it
preventing detection of sexual abuse of inmates, and failing to disclose violations of prison policies and
state and federal laws. The United States and BOP were also negligent in the hiring, supervision, and
retention of both associate warden Garcia and CO Klinger.

For all these reasons, Eaaailcs a claim for her substantial damages with the USA, She has
suffered and contimes to suffer severe and permanent injuries, mental anguish, embarrassment,
humiliation, pain, distress, and damages. She therefore secks $5,000,000 in compensation for these
damages.
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EXHIBIT B

EXHIBIT B
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U.S. Department of Justice

Federal Bureau of Prisons

Western Regional Office
7338 Shoreline Drive
Stockton, California 95279

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The Pride Law Firm
2831 Camino Del Rio 8.
Ste. 104

San Diego, CA 92108

ee Register Nun
Administ ative Claim No. TRT-WXR-2022-01182
Received: November 23, 2021

RE:

Dear Ms. Pride:

This is to acknowledge the Claim for Damage, Injury or Death submitted or forwarded to this office
under the provisions of the Federal Tort Claims Act, 28 U.S.C. §§ 2671, et seq. In this claim, you seek
compensation on behalf offs a. = = for personal injury from Al pril 2020 to October 2020.

In accordance with the applicable provisions of the statute, this agency has up to six months from
the date received in which to make a final determination of your administrative claim for damages.
This time frame began on the date that your claim was received for filing and processing as noted
above, .

Title 28, Code of Federal Regulations, § 14.2 (a) provides that an administrative claim presented to
a federal agency must be accompanied by evidence of that individual’s authority to present a claim
on behalf of the claimant as agent, executor, administrator, parent, guardian, or other representative.
That evidence may be in the form of letters testamentary, orders from a court of competent
jurisdiction, ete. Evidence of your representation, along with E Bauthority to present
the claim is needed. Please submit the requested documentation to the abov e address and include

the claim number.

Sincerelys

DENNIS M. WONG
WESTERN REGIONAL COUNSEL

. i
Daminic Avotte
Deputy Regional Counsel/CLC Supervisor
